                            Case 2:15-cv-04867-JAK-PJW Document 1-1 Filed 06/26/15 Page 1 of 1 Page ID #:15


LBHI Loan # Seller Loan #       Property Address    City    State    Zip        Claim Reason (1)         Claim Reason (2)    Claim Reason (3)   Disputed Amount
      0485     1612                                                        MISREP - INCOME/EMPLOY   MISREP - OCCUPANCY                                $333,598.10
      3180         6000                                                    MISREP - INCOME/EMPLOY                                                     $164,674.95
      8146         0000                                                    MISREP - INCOME/EMPLOY   UW - INCOME/EMPLOY                                $182,277.43
      9523         1000                                                    MISREP - INCOME/EMPLOY   MISREP - DEBTS                                    $181,152.89
      6740     1445                                                        MISREP - INCOME/EMPLOY                                                     $356,532.07
      2415         5000                                                    MISREP - INCOME/EMPLOY   MISREP - DEBTS                                    $147,515.43
      0935         0000                                                    MISREP - INCOME/EMPLOY                                                     $131,791.15
      2811     2124                                                        MISREP - DEBTS           UW - INCOME/EMPLOY                                $302,959.47
      7170         2000                                                    MISREP - CREDIT/FICO     MISREP - OCCUPANCY                                $168,913.99
      3657     3889                                                        MISREP - OCCUPANCY       MISREP - INCOME/EMPLOY                            $271,079.23
      4542         7000                                                    MISREP - INCOME/EMPLOY   MISREP - OCCUPANCY                                $217,882.52
      6093         6000                                                    MISREP - INCOME/EMPLOY                                                     $203,244.99
      4633         8000                                                    MISREP - DEBTS           MISREP - OCCUPANCY                                $381,811.84
      8794         9000                                                    MISREP - INCOME/EMPLOY   MISREP - OCCUPANCY       MISREP - DEBTS           $236,173.27
      4534     4265                                                        MISREP - DEBTS                                                             $192,494.02
      3712     1031                                                        MISREP - INCOME/EMPLOY                                                     $174,882.06
      3687     2306                                                        MISREP - OCCUPANCY                                                         $360,602.61

                                                                                                                             TOTAL                  $4,007,586.02




                                                                    EXHIBIT A
